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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0963V
                                          UNPUBLISHED


    DENNIS CASHEL,                                              Chief Special Master Corcoran

                          Petitioner,                           Filed: May 7, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Robert H. Pedroli, Pedroli & Gauthier, LLC, Clayton, MO, for Petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

       On August 4, 2020, Dennis Cashel filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) which
meets the definition for a Table GBS or, in the alternative, was caused-in-fact by the
influenza vaccine he received on September 24, 2018. Petition at ¶¶ 2, 23, 26. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On March 19, 2021, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for his GBS. On May 7, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $140,464.00,
representing compensation in the amounts of $140,000.00 for pain and suffering and
$464.00 for unreimbursed expenses. Proffer at 1. In the Proffer, Respondent represented

1
   Because this unpublished decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E -
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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that Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $140,464.00, representing compensation in the amounts of
$140,000.00 for pain and suffering and $464.00 for actual unreimbursable expenses
in the form of a check payable to Petitioner. This amount represents compensation for
all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint f il ing of notice
renouncing the right to seek review.


                                                     2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                   )
 DENNIS CASHEL,                                    )
                                                   )
                Petitioner,                        )
                                                   )    No. 20-963V
 v.                                                )    Chief Special Master Corcoran
                                                   )    ECF
 SECRETARY OF HEALTH AND HUMAN                     )
 SERVICES,                                         )
                                                   )
                Respondent.                        )
                                                   )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Procedural History

       On August 4, 2020, Dennis Cashel (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that he suffered Guillain Barré Syndrome (“GBS”) as a result of an influenza

vaccine he received on September 24, 2018. Petition at 1-2. On March 9, 2021, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act. ECF No. 16.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $140,464.00 ($140,000.00 for pain and suffering and $464.00 for unreimbursed

expenses) for all damages in this case. This amount represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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III.     Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $140,464.00, in the form of a check payable to petitioner. 1

Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.


                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Acting Deputy Director
                                                       Torts Branch, Civil Division

                                                       ALEXIS B. BABCOCK
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       /s/ Zoë Wade
                                                       ZOË WADE
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
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                                                       Washington, D.C. 20044-0146
                                                       Tel: (202) 616-4118
                                                       Fax: (202) 616-4310
                                                       Email: zoe.wade@usdoj.gov
Dated, May 7, 2021.




1
 Should petitioner die prior to entry of judgment, respondent would oppose any award for future medical expenses,
future lost earnings, and future pain and suffering, and the parties reserve the right to move the Court for appropriate
relief.

                                                           2
